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UNITED STATES DISTRICT COURT FOR THE

 

DISTRICT OF SOUTH DAKOTA

 

 

 

CENTRAL DIVISION
UNITED STATES OF AMERICA, CR fia FDA SLY
Plaintiff, REDACTED INDICTMENT
VS,
I8U.S.C. §§ 1153, 2241¢c) and 2246(2)(A)
PASCAL L. TWO ELK, AGGRAVATED SEXUAL ABUSE
OF A CHILD
Defendant.
The Grand Jury charges:
COUNT 1

On or about the 16th day of October, 2005, in Todd County, in Indian Country, in
the District of South Dakota, Pascal L. Two Elk, an Indian, did knowingly cause and
attempt to cause, [Name Redacted] a child who had not attained the age of twelve years,
to engage or attempt to engage in a sexual act, that is, contact between his penis and
{Name Redacted] vulva, in violation of 18 U.S.C. §§ 1153, 2241(c) and 2246(2)(A}.

COUNT II

On or about the 16th day of October, 2005, in Todd County, in Indian Country, in
the District of South Dakota, Pascai L. Two Elk, an Indian, did knowingly cause and
attempt to cause, [Name Redacted] a child who had not attained the age of twelve years,

to engage or attempt to engage in a sexual act, that is, contact between his penis and

(Name Redacted] anus, in violation of 18 U.S.C. §§ 1153, 2241(c) and 2246(2)(A).
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A TRUE BILL

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Foremané

MICHELLE G. TAPKEN
United States Attorney

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